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                                     338




                     EXHIBIT CC
                              An official website of the United States government      Case 1:24-cv-01946-LDH-LKE    Document 1-33      Español
                                                                                                                                      Filed        中⽂ Page
                                                                                                                                            03/16/24   Tiếng  Việt
                                                                                                                                                           2 of     한국어#: Tagalog
                                                                                                                                                                5 PageID            Pусский   ‫اﻟﻌرﺑﯾﺔ‬   Kreyòl Ayisyen   (855) 411-2372
                                                                                                                             339


                                                                                                                                                                                          Search              Submit a Complaint



                          Consumer Education                      Rules & Policy                Enforcement                 Compliance               Data & Research                 News




Consumer Complaint Database
Things to know before you use this database | How we use complaint data | Technical documentation




Search complaint data (last updated: 3/12/2024)
Search within

  All data                ▾                                                                                                                                                                                  Clear       Search    Show advanced search tips
                                   selene finance

Filters applied:           Incorrect information on your report              Attempts to collect debt not owed              Problem with customer service          False statements or representation                Trouble during payment process


                           Loan modification,collection,foreclosure                 Loan servicing, payments, escrow account            Credit reporting, credit repair services, or other personal consumer reports                Mortgage

                              Clear all filters




Filter results by...
                                                                        Showing 1,389 matches out of 4,838,845 total complaints
                                                                        Export data         Print
Date CFPB received the complaint


  CFPB updated product and issue options in                                   Trends                   List              Map
  April 2017 and August 2023. Learn More
                                                                     Show                      Sort                            Read
  From                        Through
                                                                        100 results       ▾         Newest to oldest     ▾       Only complaints with narratives         All complaints
   12/01/2011                   03/12/2024


  Date range (Click to modify range)                                    8151361                                     Date received: 1/11/2024           Consumer's state: MA


   3m        6m      1y       3y       All                              Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
Product / sub-product
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
  The type of product and sub-product the                                                                           Trouble during payment process
  consumer identified in the complaint
                                                                        Timely response?                            Sub-issue: Payment process
        Mortgage                                    1,349               Yes
                                                                                                                    Consumer Complaint Narrative
        Credit reporting, credit repair                40                                                           Selene Finance owe us tens of thousands of dollars in their
        services, or other personal                                                                                 mis-applied mortgage failures. I can prove all of this with
        consumer reports
                                                                                                                    deductions from our bank account and screen shots with
        Debt collection                                33                                                           date and. time stamps from their web page of OUR
                                                                                                                    account. I will attach a few of the many screenshot we hav
        Credit reporting or other                        2                                                          [...]
        personal consumer reports



                                                                        8140841                                     Date received: 1/11/2024           Consumer's state: MN
Issue / sub-issue
                                                                        Company name                                Product
  The type of issue and sub-issue the                                   Selene Holdings LLC
                                                                                                                    Mortgage
  consumer identified in the complaint
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
        Enter name of issue                                             consumer
                                                                                                                    Issue
                                                                        Closed with explanation
        Loan                                          527                                                           Trouble during payment process
        modification,collection,foreclos                                Timely response?                            Sub-issue: Payment process
        ure
                                                                        Yes
        Trouble during payment                        464                                                           Consumer Complaint Narrative
        process                                                                                                     Selene Finance Mortgage XXXX statement shows an
                                                                                                                    unapplied payment balance with the stipulation written
        Loan servicing, payments,                     342
                                                                                                                    on their statement saying that if the total mortgage
        escrow account                                                                                              payment is paid in full that any unapplied payments will
        Incorrect information on your                  56                                                           apply to the mortgage. This overpayment was made in
        report                                                                                                      XXXX and it is no [...]

        Struggling to pay mortgage                    486

  + Show 10 more                                                                                                    Date received: 1/6/2024          Consumer's state: OK
                                                                        8118105
                                                                        Company name                                Product
State                                                                   Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
  The state in the mailing address provided by                          Company response to
  the consumer                                                          consumer
                                                                                                                    Issue
                                                                        Closed with explanation
        Enter state name or abbreviation                                                                            Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
ZIP code                                                                                                            Consumer Complaint Narrative
                                                                                                                    Selene finance Lp took over as the servicer of this loan
  The mailing ZIP code provided by the                                                                              beginning of XXXX. The note originator had it set up that
  consumer                                                                                                          the first 4 full payments of the mortgage would be held
                                                                                                                    from the cash out refinance amount in an impound to go
        Enter first three digits of ZIP code                                                                        towards the first 4 payments. The previous servicer foll [...]



Company name                                                                                                        Date received: 12/20/2023           Consumer's state: CA
                                                                        8034475
  The complaint is about this company.                                  Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
        Enter company name
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
Did company provide a timely                                                                                        Trouble during payment process
response?                                                               Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan
Company response to consumer
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    XXXX my house burned down and my insurance issued a
Company public response                                                                                             joint check to my mortgage holder, Selene Finance XXXX
                                                                                                                    Throughout the process of requesting funds to complete
                                                                                                                    repairs, the loss draft department has slow walked
The date the CFPB sent the                                                                                          requests for funding repairs and it has resulted in delays
complaint to the company                                                                                            so long [...]



  From                        Through
                                                                        8025517                                     Date received: 12/19/2023           Consumer's state: VA
   03/12/2024                   03/12/2024
                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
Consumer consent provided?                                              Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
Only show complaints with narratives?                                                                               Trouble during payment process
                                                                        Timely response?                            Sub-issue: Fees charged
    Yes                                                                 Yes
                                                                                                                    Consumer Complaint Narrative
How did the consumer submit the                                                                                     '' My next response letter I received from Selene Finance
complaint to the CFPB?                                                                                              was on XX/XX/2023. The contents of the letter was
                                                                                                                    erroneous stating The letter further states it "
                                                                                                                    acknowledges receipt of my request for loss mitigation ''.
Tags


                                                                        8009540                                     Date received: 12/15/2023           Consumer's state: NJ

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Home equity loan or line of credit (HELOC)
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan

                                                                                                                    Consumer Complaint Narrative
                                                                                                                    Selene Finance states I have an escrow shortage of
                                                                                                                    {$28000.00}. I called twice to ask for proof. On XX/XX/23
                                                                                                                    XX/XX/23 To speak to a manager/supervisor and was told
                                                                                                                    that the customer service person could help. That person
                                                                                                                    could not help. I have my financial advisor to help and he
                                                                                                                    c [...]




                                                                        8009369                                     Date received: 12/15/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Home equity loan or line of credit (HELOC)
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan

                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I am trying to resolve this but I am getting no response
                                                                                                                    from Selene Finance.




                                                                        7996722                                     Date received: 12/14/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Other type of mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Paying off the loan
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    After agreements were reached with all XXXX XXXX, the
                                                                                                                    XXXX XXXX XXXX XXXX ( Selene Finance , LP ) said the
                                                                                                                    payoff amount is $ XXXX. Now unable to close escrow.
                                                                                                                    Proof for explanation of change has been inadequate.




                                                                        7986941                                     Date received: 12/13/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    Selene Finance needs to pay the total amount due of
                                                                                                                    {$3200.00} asap.




                                                                        7946075                                     Date received: 12/4/2023           Consumer's state: OR

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan

                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I am writing to formally lodge a complaint against Selene
                                                                                                                    Finance regarding ongoing issues with my mortgage
                                                                                                                    account management. Despite repeated efforts since
                                                                                                                    early XX/XX/2023, both myself and my assistant, have
                                                                                                                    faced continuous challenges accessing my account,
                                                                                                                    resulting in signifi [...]




                                                                        7939830                                     Date received: 12/4/2023           Consumer's state: NY

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    SELENE FINANCE TOOK OVER MY MORTGAGE FROM
                                                                                                                    XXXX ABOUT XX/XX/2023 AND SINCE THEN I HAVE
                                                                                                                    PROBLEM WITH THEM.SELENE COLLECT ESCREW FOR
                                                                                                                    TAXES AND CLAIM THAT BEEN PAID THE TAXES .BUT
                                                                                                                    THE NOTICES I GET FROM THE VILLAGE FOR THE TAXES
                                                                                                                    SAYS OTHERWISE.I SENT NOTICES I GOT FOR THE VILL
                                                                                                                    [...]




                                                                        7933818                                     Date received: 12/1/2023           Consumer's state: NY

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Incorrect information on your report
                                                                        Timely response?                            Sub-issue: Account status incorrect
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    My complaint is that selene finance has not removed the 60
                                                                                                                    days late from credit report it shows on XXXX and XXXX.
                                                                                                                    My loan is XXXX I call customer service they told me that
                                                                                                                    they will remove the 60 days off my report but it still
                                                                                                                    shows on XXXX credit report and XXXX my social secu [...]




                                                                        7909025                                     Date received: 11/28/2023           Consumer's state: SD

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: FHA mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    On XX/XX/ a payment was made to Selene Finance. On
                                                                                                                    XX/XX/ I received a statement from Selene Finance dated
                                                                                                                    XX/XX/23. It clearly states that a full payment is sitting in
                                                                                                                    unapplied funds dated XX/XX/ If a full payment is sitting
                                                                                                                    in unapplied funds when the statement [...]




                                                                        7910896                                     Date received: 11/27/2023           Consumer's state: TN

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: FHA mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan

                                                                                                                    Consumer Complaint Narrative
                                                                                                                    My loan was transferred to Selene Finance in XXXX of
                                                                                                                    XXXX. I filed bankruptcy in XXXX and my loan has been
                                                                                                                    transferred to several servicers in the last XXXX years. I
                                                                                                                    had a modification in XXXX that I acquired legal fees that
                                                                                                                    show on my payoff balance with the understanding that th
                                                                                                                    [...]




                                                                        7901131                                     Date received: 11/24/2023           Consumer's state: NY

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I am writing to bring to your attention a serious issue I
                                                                                                                    have encountered with my mortgage service company,
                                                                                                                    Selene Finance LP. I am the property owner with nine loans
                                                                                                                    serviced by Selene Finance, and I am deeply concerned
                                                                                                                    about their failure to make timely propert [...]




                                                                        7892910                                     Date received: 11/22/2023           Consumer's state: IL

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I have not missed any payments, my interest is a fixed 5 %
                                                                                                                    for XXXX yrs, my homeowners insurance decreased and
                                                                                                                    also I noticed on that letter that XXXX tax installment
                                                                                                                    Selene has it wrong. They have it listed for over XXXX
                                                                                                                    when in fact I have the actual bill showing a little over
                                                                                                                    1200. They [...]




                                                                        7859617                                     Date received: 11/16/2023           Consumer's state: MN

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Fees charged
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    On XX/XX/2023, Selene Finance sent a Reinstatement
                                                                                                                    Quote good through XX/XX/2023, which totaled
                                                                                                                    {$16000.00} and which was paid in full on XX/XX/2023.
                                                                                                                    For the months of XX/XX/2023 through XX/XX/2023, my
                                                                                                                    montly installment due was {$1500.00}. For the months of
                                                                                                                    XXXX through XX/XX/2023 [...]




                                                                        7855618                                     Date received: 11/15/2023           Consumer's state: FL

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Other type of mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue:
                                                                        Yes                                         Trying to communicate with the company to fix an issue
                                                                                                                    while managing or servicing your loan

                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I closed on a mortgage with XXXX who has the servicing
                                                                                                                    with Selene Finance. They held payments XX/XX/XXXX,
                                                                                                                    XX/XX/XXXX and XX/XX/XXXX. I was not to start paying
                                                                                                                    payments until XX/XX/XXXX. However, they withdrew a
                                                                                                                    payment on XX/XX/XXXX. I have contacted the company
                                                                                                                    twice and XXXX at [...]




                                                                        7852338                                     Date received: 11/14/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    After numerous phone calls and emails resulting in no
                                                                                                                    one trying to fix the error Selene Finance LP placed my
                                                                                                                    account in foreclosure. After 16 refused payments there
                                                                                                                    was a sale date. I had to hire an attorney to open probate
                                                                                                                    then had to hire a bankruptcy attorney since I had to fil [...]




                                                                        7841875                                     Date received: 11/12/2023           Consumer's state: FL

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I overnighted a check ( return receipt requested ) in the
                                                                                                                    amount of {$52000.00} to Selene Finance, my mortgage
                                                                                                                    company. The check was for the settlement with my
                                                                                                                    homeowner 's insurance company, XXXX XXXX, for
                                                                                                                    damages that occurred to my home due to XXXX XXXX
                                                                                                                    XXXX. Selence Fina [...]




                                                                        7826840                                     Date received: 11/9/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Fees charged
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    Given the extreme amount of calls we have initiated to
                                                                                                                    Selene Finance regarding this matter, we are now hereby
                                                                                                                    requesting written documentation of the late charge
                                                                                                                    reversal and no adverse credit reporting. Likewise, we
                                                                                                                    would like to know specifically when the reimbursement
                                                                                                                    of the {$ [...]




                                                                        7759560                                     Date received: 10/26/2023           Consumer's state: VA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    PLEASE SEE ATTACHED SELENE FINANCE LETTER
                                                                                                                    ILLUSTRATING I HAVE MET VERY CRITERIA.




                                                                        7748393                                     Date received: 10/24/2023           Consumer's state: NJ

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    CREDIT REPORTING : On XX/XX/XXXX, Selene Finance, LP
                                                                                                                    approved and closed on a mortgage modification to help
                                                                                                                    with the mortgage payment.




                                                                        7705513                                     Date received: 10/16/2023           Consumer's state: VA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    THAT IS RIGHT SELENE FINANCE IS COLLECT DOUBLE
                                                                                                                    THE NECESSARY AMOUNT. Loan Number : XXXX




                                                                        7679309                                     Date received: 10/12/2023           Consumer's state: NY

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Home equity loan or line of credit (HELOC)
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    SELENE FINANCE MY MORTGAGE PROVIDER CHARGED
                                                                                                                    AN ESCREW TO MY HOME LINE OF CREDIT.THIS
                                                                                                                    ESCREW ALREADY BEEN ADDED TO MY ORIGINAL
                                                                                                                    MORTGAGE FOR THE PROPERTY.THEY CHARGING ME
                                                                                                                    TO PAY TWICE TAXES AND INSURANCE FOR THE SAME
                                                                                                                    PROPERTY.I BEEN CALLING THEM MANY TIMES IN LAST
                                                                                                                    XXXX MONTHES AND TH [...]




                                                                        7616573                                     Date received: 9/30/2023           Consumer's state: SD

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: FHA mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    I receive a Breach letter from Selene Finance, knowing my
                                                                                                                    account was not 120 days past due I placed a call to
                                                                                                                    Selene finance to obtain information on why received a
                                                                                                                    notice of default. I was told by a representative of Selene
                                                                                                                    finance that they ho [...]




                                                                        7614303                                     Date received: 9/27/2023           Consumer's state: DE

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Escrow, taxes, or insurance
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    In a nut shell- My mortgage was sold to Selene Finance
                                                                                                                    XXXX XXXX, 2021. ( that is all I know ; I understand Selene
                                                                                                                    is not a bank yet I can not get info on who actually owns
                                                                                                                    my loan ) I received the run around ever since. I set up
                                                                                                                    auto pay from the beginning with Selene [...]




                                                                        7602570                                     Date received: 9/25/2023           Consumer's state: NC

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Home equity loan or line of credit (HELOC)
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Trouble during payment process
                                                                        Timely response?                            Sub-issue: Payment process
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    NCHAF in XXXX and Selene added it to my account
                                                                                                                    partially on XX/XX/XXXX and fully added on XX/XX/XXXX
                                                                                                                    totalling {$52000.00}. On XX/XX/XXXX payment was
                                                                                                                    given to Selene Finance for the amount of {$1200.00} (
                                                                                                                    noted in the attached Bank Statement Document ). We
                                                                                                                    reached out t [...]




                                                                        7550528                                     Date received: 9/14/2023           Consumer's state: FL

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
                                                                        consumer
                                                                                                                    Issue
                                                                        Closed with explanation
                                                                                                                    Incorrect information on your report
                                                                        Timely response?                            Sub-issue: Account information incorrect
                                                                        Yes
                                                                                                                    Consumer Complaint Narrative
                                                                                                                    We made a payment to Selene Finance on XX/XX/XXXX for
                                                                                                                    the month of XX/XX/XXXX and they reported the account
                                                                                                                    as late. Contractually, we made the payment for
                                                                                                                    XX/XX/2023 during the month that it was due. Selene
                                                                                                                    Finance has to uphold their part of the contract by [...]




                                                                        7533254                                     Date received: 9/11/2023           Consumer's state: CA

                                                                        Company name                                Product
                                                                        Selene Holdings LLC
                                                                                                                    Mortgage
                                                                                                                    Sub-product: Conventional home mortgage
                                                                        Company response to
consumerCase 1:24-cv-01946-LDH-LKE
                                     Issue
                                      Document 1-33
                                              340
                                                      Filed 03/16/24   Page 3 of 5 PageID #:
Closed with explanation
                                     Trouble during payment process
Timely response?                     Sub-issue: Escrow, taxes, or insurance
Yes
                                     Consumer Complaint Narrative
                                     We have an escrow account set up to property taxes and
                                     insurance and Selene Finance has failed to pay our
                                     insurance and our policy has lapsed. For loan number
                                     XXXX XXXX for XXXX XXXX XXXX XXXX XXXX XXXX
                                     XXXX XXXX, CA XXXX. They were provided with all
                                     necessary insurance documents [...]




7530388                              Date received: 9/11/2023           Consumer's state: AR

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?                     Sub-issue: Loan sold or transferred to another company
Yes
                                     Consumer Complaint Narrative
                                     We were part of countywide, XXXX XXXX XXXX and then
                                     sold to Selene finance in the middle of modification. Selene
                                     finance made us start a whole new modification and did
                                     not honor the XXXX XXXX XXXXXXXX mod. Selene finance
                                     did not allow our modific [...]




7483643                              Date received: 8/31/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?                     Sub-issue: Escrow, taxes, or insurance
Yes
                                     Consumer Complaint Narrative
                                     Selene Finance claims I did not have insurance for my
                                     property located at XXXX XXXX XXXX XXXX, CA. House is
                                     covered with full lender requirements with no lapse of
                                     insurance at any point in time. proof of insurance was sent
                                     along with the declaration page to selene [...]




7460153                              Date received: 8/28/2023           Consumer's state: MD

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?                     Sub-issue:
Yes                                  Trying to communicate with the company to fix an issue
                                     while managing or servicing your loan

                                     Consumer Complaint Narrative
                                     Please have Selene Finance send the requested documents
                                     so I can resolve this issue and bring the account current
                                     quickly.




7441562                              Date received: 8/22/2023           Consumer's state: NJ

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     When Selene Finance LP became my new Servicer of my
                                     mortgage we requested who my single point of contact
                                     was. We call over 50 times between myself and my
                                     Realtor without any success. Finally, on XX/XX/XXXX of
                                     XXXX, we were assigned a Single point of contact. We
                                     have an all-cash o [...]




7433294                              Date received: 8/22/2023           Consumer's state: VA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     I have a mortgage with Selene Finance that was acquired
                                     from XXXX XXXX XXXX. The loan was in forbearance
                                     during covid. When the loan came out of forbearance,
                                     Selene forced me to pay all outstanding payment by
                                     threatening foreclosure. I paid the reinstatement quote in
                                     XXXX [...]




7432140                              Date received: 8/22/2023           Consumer's state: NC

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     In XX/XX/XXXX, XXXX XXXX transferred the mortgage to
                                     XXXX XXXX and Selene Financing became the servicer. The
                                     mortgage was a part of bankruptcy proceedings at that
                                     time. ( Attachment pages 3 and 4 ) In XX/XX/XXXX, the
                                     outstanding balance on my mortgage was {$89000.00} (
                                     Attachment p [...]




7434152                              Date received: 8/21/2023           Consumer's state: FL

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: FHA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Let me reiterate that this loan was owned by a
                                     Government Agency and was not held by Selene Finance.
                                     Therefore Selene Finance can not contest a legal dcoument
                                     that has been filed with the XXXX XXXX XXXX XXXX. In
                                     XXXX, Selene Finance did not have [...]




7424737                              Date received: 8/18/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     We have contacted Selene Finance on a weekly Basis since
                                     XX/XX/2023 and we get the same response each time "
                                     your problem will be fixed this week '' The Property taxes
                                     are now almost 5 months delinquent, and the 2nd round
                                     of property taxes will be due in XXXX. We have over
                                     {$35000 [...]




7366201                              Date received: 8/8/2023           Consumer's state: VA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Other type of mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Mortgage was transferred to Selene Finance LP. Selene
                                     acknowledges on-boarding the loan on XX/XX/2023.
                                     Escrow was established at closing on XX/XX/2023 and the
                                     amount was transferred in full to Selene Finance LP ; in
                                     addition escrow has continued to be col [...]




7340246                              Date received: 8/2/2023           Consumer's state: FL

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     On XX/XX/XXXX we open a " ticket '' on the phone with
                                     Selene to try to find where is my money, they give today,
                                     XX/XX/XXXX as a deadline to get a response. Today is
                                     XX/XX/XXXX, and my payment is still " not found '', Selene
                                     Finance didn't give me any answer. Every time th [...]




7322898                              Date received: 7/30/2023           Consumer's state: NC

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Home equity loan or line of credit (HELOC)
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene Finance is stating that payments have not been
                                     made for XXXX, XXXX and XX/XX/2023 : Payments made
                                     : XXXX {$330.00} XXXX - {$1000.00} XXXX - {$11000.00}
                                     Also, when Selene acquired the loan from XXXX taxes were
                                     paid, Selene is adding four years of taxes to th [...]




7320397                              Date received: 7/28/2023           Consumer's state: KS

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: VA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Back in XXXX my mortgage loan was transferred to Selene
                                     Finance, LP from XXXX XXXX. There were cooperate
                                     advance fees of {$17000.00} applied to my account.
                                     Neither Selene nor XXXX XXXX could tell me the nature of
                                     these fees. I tried getting some explanation but no one
                                     seem [...]




7308322                              Date received: 7/26/2023           Consumer's state: SC

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: FHA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene Finance, LP make restitution to XXXX XXXX XXXX
                                     and XXXX and XXXX XXXX for the undue stress and
                                     mental anguish they have caused. 5. Criminal Charges be
                                     made against Selene Finance, LP and their officers and
                                     investors for the fraudulent practices they have be [...]




7301108                              Date received: 7/25/2023           Consumer's state: VA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     I am filing this complaint against XXXX XXXX and Selene
                                     Finance XXXX. My mortgage loan was transferred from
                                     XXXX XXXX to Selene Finance in XX/XX/XXXX. Prior to
                                     transfer of my mortgage, my account was current with
                                     XXXX XXXX.




7230004                              Date received: 7/10/2023           Consumer's state: NY

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene finance is charging me lawyer fee due to fraudulent
                                     actions to put me in foreclosure and inspection of my
                                     home. Number 1 the bank agreed to do a modification
                                     with me. I have proof they sent me a email of the
                                     modification. Number XXXX I have proof they were
                                     pulling money out [...]




7217797                              Date received: 7/7/2023           Consumer's state:

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Home equity loan or line of credit (HELOC)
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     I have a mortgage loan with the Selene finance company, I
                                     have paid my installments on time, but they have lost an
                                     installment that corresponds to the month of XX/XX/2022.
                                     I paid my XXXX installment on XX/XX/2022, for XXXX and
                                     that of XX/XX/2022 on XX/XX/2022. My credit changed
                                     com [...]




7214698                              Date received: 7/6/2023           Consumer's state: VA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     First of all, Selene Finance LP is a corrupt organization, and
                                     they need to be investigated for their activities that violate
                                     consumer protection laws. My most recent issue with
                                     Selene ( who is the servicer for my loan which is owned by
                                     their parent company XXXX XXXX has [...]




7172290                              Date received: 6/27/2023           Consumer's state: NC

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     On XX/XX/XXXX I made a payment to Selene Finance (
                                     XXXX ) from my business checking account for a
                                     mortgage payment of {$1500.00}. I have been in contact
                                     with the company since Thursday XX/XX/XXXX. I have
                                     made several calls requesting a receipt of payment. My
                                     last call was with a [...]




7172136                              Date received: 6/27/2023           Consumer's state: TX

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: FHA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     This document makes the claim that SELENE FINANCE LP
                                     bases its authority on a service agreement. I rejected their
                                     service agreement and returned it to them within 24
                                     hours of receipt. The rejected service agreement is the
                                     most important piece of evidence. SELENE FINANC [...]




7167711                              Date received: 6/26/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     I was told once this amount was received, I would be
                                     made whole and can resume regular payments to Selene. I
                                     explained to her I was obtaining financing to get this paid
                                     current. XXXX XXXX XXXX Selene rep ( XXXX ) -I called to
                                     obtain the wire address to send funds. This ti [...]




7164159                              Date received: 6/25/2023           Consumer's state: GA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: FHA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Thereafter, Selene Finance has placed a {$33.00} late fee
                                     each month on the account. After speaking with
                                     representatives to rectify the issue I received no relief.
                                     Selene Finance periodically sent a representative to the
                                     property to place a piece of paper on the d [...]




7156577                              Date received: 6/23/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Finally, after we had paid total of {$110000.00},
                                     demanded by Selene Finance before XX/XX/XXXX, Selene
                                     Finance sent us an updated mortgage statement in
                                     XX/XX/XXXX and identified and approved all our 10
                                     missing mortgage payments were all from either
                                     Shellpoint or < [...]




7132558                              Date received: 6/18/2023           Consumer's state: MI

Company name                         Product
Selene Holdings LLC
                                     Credit reporting, credit repair services, or
Company response to                  other personal consumer reports
consumer                             Sub-product: Credit reporting
Closed with explanation
                                     Issue
Timely response?                     Incorrect information on your report
Yes                                  Sub-issue: Account information incorrect

                                     Consumer Complaint Narrative
                                     Selene finance is reporting a balance of $ XXXX in default I
                                     want this debt removed from my report. We have been
                                     divorced since XX/XX/2015. I live in Michigan and the
                                     home at XXXX XXXX XXXX in XXXX XXXX remains
                                     occupied by XXXX XXXX




7022033                              Date received: 5/25/2023           Consumer's state: TX

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     My mortgage payments with Selene Finance increased from
                                     $ XXXX to $ XXXX after the XXXX Escrow analysis. I
                                     requested Selene Finance to detail the Escrow analysis and
                                     explain where all my payments went during XXXX. They
                                     never answered, so I reached out to CFPB to h [...]




7017373                              Date received: 5/23/2023           Consumer's state: FL

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Repeated telephone calls to Selene Finance have fallen on
                                     XXXX XXXX. Not only has the {$20000.00} payment not
                                     been properly credited, it has not been returned.




7016919                              Date received: 5/23/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     According to Selene Finance I did not pay my XX/XX/2023
                                     mortgage payment. That is simply not true. I used the the
                                     phone system to make XXXX payment but it was not
                                     picked up by your in-house system. At any rate, it's
                                     updated now. HOWEVER, Selene Finance didn't bo [...]




6989497                              Date received: 5/17/2023           Consumer's state: CA

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     They sold my loan to Selene Finance in XX/XX/XXXX and I
                                     made my old regular payments to Selene Finance from
                                     XX/XX/XXXX. I found that the trial payments from XXXX -
                                     XX/XX/XXXX ( {$2000.00} x XXXX ) and XXXX XXXX XXXX
                                     ( {$2000.00} x XXXX ), plus a payment of {$2700. [...]




6970252                              Date received: 5/12/2023           Consumer's state: NY

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     My previous mortgage company XXXX XXXX sold the
                                     account to Selene Mortgage in XX/XX/2022. On XXXX22 I
                                     received a bill from Selene Finance indicating Corporate
                                     Advance Fee Breakdown for transaction date XXXX22-
                                     {$75.00} ( Prior Servicer Corporate Advance Fee ) and
                                     XXXX22 - [...]




6965525                              Date received: 5/11/2023           Consumer's state: NY

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene finance did not send any documents stating change
                                     in loan modification or give me information about new
                                     recast Nys haf is looking into where they applied funds
                                     and a lawyer is looking in predatory lending practices By
                                     trying to put in place a loan modification instead of rec [...]




6839968                              Date received: 4/14/2023           Consumer's state: TX

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     We have a mortgage that is serviced by Selene Finance.
                                     There is an escrow account set up with the company that
                                     has over {$130000.00}. although the escrow is paid the
                                     servicing has not paid the property taxes associated with
                                     the agreement with Selene Finance. There [...]




6828884                              Date received: 4/12/2023           Consumer's state: NJ

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: Conventional home mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene Finance and I have disagreed over the fact that I had
                                     a COVID19 extension. They have hidden the fact that that
                                     offered and issued a COVID19 extension as they are now
                                     stating that an extension never existed. They have not
                                     accepted my payments on the mortgage and have began
                                     a [...]




6813752                              Date received: 4/8/2023           Consumer's state: NJ

Company name                         Product
Selene Holdings LLC
                                     Mortgage
                                     Sub-product: FHA mortgage
Company response to
consumer
                                     Issue
Closed with explanation
                                     Trouble during payment process
Timely response?
Yes                                  Consumer Complaint Narrative
                                     Selene Finance LP will collect your payments going forward.
                                     Your new servicer will start accepting payments received
                                     from you on XX/XX/2022.




6799400                              Date received: 4/5/2023           Consumer's state: NY

Company name                         Product
Selene Holdings  LLC
          Case 1:24-cv-01946-LDH-LKE   Credit    reporting,
                                        Document 1-33
                                                341
                                                                   credit
                                                      Filed 03/16/24  Page 4repair
                                                                             of 5 PageIDservices,
                                                                                         #:       or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Old information reappears or never goes away

                                       Consumer Complaint Narrative
                                       Selene Finance LP continues to put negative information on
                                       my credit report for a property on a mortgage that was
                                       foreclose in 2011, this has come to light now that I am
                                       trying to purchase a new home in my credit report, further
                                       more they have sent me a 1099 - C that now is causing [...]




6773427                                Date received: 3/30/2023        Consumer's state: MD

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       DETAILS After making numerous calls to " Selene Finance ''
                                       and speaking to different " Representatives '' in XXXX and
                                       XX/XX/XXXX regarding paying my " Escrow '' in advance
                                       for the entire XXXX calendar year and being informed of
                                       the necessary steps to take, I moved forward on XX/XX/
                                       [...]




6754710                                Date received: 3/27/2023        Consumer's state: NY

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       I received a letter today from selene finance via certied mail
                                       threating to foreclosure on the property via certiied mail.
                                       My property is my primary residence for myself and the
                                       family. The Market value of the property by county is
                                       about XXXX and mortgage balance is about XXXX. I [...]




6719237                                Date received: 3/19/2023        Consumer's state: GA

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Home equity loan or line of credit (HELOC)
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       My mortgage was with XXXX XXXX XXXXXXXX and was
                                       sold to Selene finance. My terms and payments were not
                                       supposed to be changed. The only thing that Selene said
                                       was changing was the payment address. My mortgage
                                       with XXXX XXXX XXXXXXXX was {$900.00}. At one point
                                       XXXX said th [...]




6663618                                Date received: 3/9/2023      Consumer's state: VA

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Home equity loan or line of credit (HELOC)
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Also, I just called my loan servicer, Selene Finance LP and
                                       learned that my house will be sold on XX/XX/XXXX. This is
                                       happening without me being notified at by any
                                       correspondence whatsoever ( meaning they never sent
                                       me a letter in the mail concerning this ). Selene Fin [...]




6606332                                Date received: 2/24/2023        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Today, XX/XX/2023, received a letter from Selene Finance.
                                       Letter explained we have not received your Forbearance
                                       payment this month. Immediately I called Selene Finance
                                       spoke to a representative, please see documents attached
                                       with my letter dated today to Sel [...]




6564058                                Date received: 2/14/2023        Consumer's state: TX

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Account status incorrect

                                       Consumer Complaint Narrative
                                       It showed that Selene Finance reported the deceased
                                       status. I contacted XXXX approximately XX/XX/XXXX and
                                       was told they corrected the issue- the next day my report
                                       on. XXXX was reinstated. XX/XX/XXXX my status was
                                       again deceased via XXXX. XX/XX/XXXX all XXXX bureaus
                                       list me as de [...]




6565080                                Date received: 2/13/2023        Consumer's state: OK

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       We paid it to Selene Finance at the emd of XX/XX/. We had
                                       a receipt for that amount. We recently got our mortgage
                                       statement in the mail, and tacked on to our regular
                                       mortgage payment was an extertainius fee for {$2600.00}.
                                       I called them and asked what was going on, because that
                                       sho [...]




6478628                                Date received: 1/25/2023        Consumer's state: AZ

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       We were both on the phone with Selene Finance for 2 hours
                                       and they still do not know what happened to the check
                                       that was sent out. XXXX advised them to reissue and wire
                                       the funds otherwise if payment isn't made by
                                       XX/XX/XXXX a lien will be applied to my home. I am
                                       astounded how [...]




6475283                                Date received: 1/23/2023        Consumer's state: IN

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: VA mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       I have had multiple issues with Selene Finance but the
                                       following is only a complaint regarding the escrow
                                       account. I had to file for XXXX XXXX XXXX XX/XX/XXXX
                                       after taking over the property from my ex wife. This XXXX
                                       was XXXX the end of XX/XX/XXXX. In XX/XX/XXXX we
                                       received an es [...]




6425719                                Date received: 1/11/2023        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Without been informed my loan was switched to Selene
                                       Finance Mortgage which for them it shows my payment
                                       late since I had sent the payment to the original XXXX
                                       XXXX. I been paying {$350.00} ( principal {$440.00},
                                       interest {$2500.00}, escrow ( taxes & insurance ) {$800.00}
                                       ) monthl [...]




6421289                                Date received: 1/10/2023        Consumer's state: NV

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       I have a letter from XXXX dating XX/XX/XXXXXXXX that
                                       informs me of the loan service transfer and mentions my
                                       loan forbearance agreement was sent to Selenian Finance,
                                       the new loan servicer ( see attached ). 6 ) Selene Finance
                                       had also no way of looking at the forbearance [...]




6391766                                Date received: 1/3/2023      Consumer's state: NJ

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       XX/XX/XXXX Consumer financial Protection Bureau This is
                                       regarding my mortgage with Selene Finance I logged into
                                       my account this morning and i see I have XXXX late fee
                                       due with my XX/XX/XXXX payment I called XXXX and
                                       they were unable to tell What this is XXXX I already payed
                                       a XXX [...]




6367144                                Date received: 12/27/2022        Consumer's state: TN

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Incorrect information on your report
Timely response?                       Sub-issue: Old information reappears or never goes away
Yes
                                       Consumer Complaint Narrative
                                       Our loan was transferred to Selene Finance in XXXX of
                                       XXXX. In XXXX of XXXX I received a credit alert from
                                       XXXX that there was a negative report from Selene Finance.
                                       The credit alert shows that Selene Finance reported the
                                       account with XXXX in XX/ [...]




6352043                                Date received: 12/23/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Old information reappears or never goes away

                                       Consumer Complaint Narrative
                                       Once again, I request Selene Finance to remove my name
                                       from this loan and to stop reporting under my name.




6320857                                Date received: 12/14/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       I have a mortgage in Selene Finance, my account is # XXXX.
                                       A part of my monthly payment is an amount intended to
                                       be accumulated on escrow account. This means that
                                       Selene Finance collects my money so to pay property taxes
                                       behalf on me. On XX/XX/XXXX I discovered [...]




6207559                                Date received: 11/15/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Re : Selene Finance For over a year on numerous occasions
                                       we have requested our payment History and documents
                                       from Selene Finance. All promises have been broken and
                                       hours on hold to speak with a rep. NO REPLY or help of
                                       any kind!! Sent in a payment of {$30000.00 [...]




6189671                                Date received: 11/10/2022        Consumer's state: OK

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Other type of mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       At the same time, online my log-in account with Selene
                                       Finance shows that no payment to come out until XXXX
                                       which would allow me an extra month to catch up due to
                                       me having two recorded payments, instead of this
                                       inaccurate promise {$1100.00} was taken very recently
                                       XX/XX/2022, from [...]




6153444                                Date received: 11/1/2022        Consumer's state: TX

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       My Mortgage company, Selene Finance LP, says they issued
                                       an Escrow Refund in the amount of ~ {$10000.00} in
                                       XX/XX/2022. However, I only received {$5800.00}.
                                       Additionally, they are withholding {$2800.00}, as of
                                       XX/XX/2022. I am owed almost {$7000.00}.




6095107                                Date received: 10/17/2022        Consumer's state: CA

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       My Loan was originally with XXXX and was bought by
                                       Selene Finance, since then we have had issues with filing
                                       paper work, Selene finance claiming we did not have
                                       homeowner insurance, ( which we did and have always
                                       had ), charging fees for things that were unheard o [...]




6088005                                Date received: 10/14/2022        Consumer's state: NC

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       XXXX XXXX still transferred the loan to Selene finance at the
                                       end of XXXX. Upon knowing this we reached out to Selene
                                       finance at the beginning of XXXX Selene would not talk to
                                       us until they approve the 3rd party authorization that they
                                       received on XX/XX/X [...]




6058354                                Date received: 10/6/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       The response from Selene Finance to CFPB is incorrect. My
                                       application for loan modification the income section is
                                       incorrect. Income reported on my application {$4500.00},
                                       Selene reported income to CFPB {$6700.00}. Errors on
                                       Social Security amounts. Rental income I reported [...]




6047686                                Date received: 10/4/2022        Consumer's state: ME

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Account status incorrect

                                       Consumer Complaint Narrative
                                       My XXXX credit report shows Selene Finance with adverse
                                       information. In XXXX I was working with XXXX XXXX
                                       XXXX to modify my home loan via Court Ordered
                                       Mediation here in XXXX XXXX Court. While in mediation,
                                       Selene Finance purchased my loan from XXXX. In mediation
                                       [...]




6036092                                Date received: 9/30/2022        Consumer's state: NJ

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Below is what I sent to Selene Finance : On the purchase of
                                       my investment property, XXXX XXXX XXXX, XXXX XXXX,
                                       NJ XXXX, my loan originated by XXXX closed in
                                       XX/XX/XXXX- As you know, Selene Finance purchased the
                                       mortgage loan and/or servicing rights from XXXX Mortg
                                       [...]




6015214                                Date received: 9/26/2022        Consumer's state: GA

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue:
                                       Information is missing that should be on the report

                                       Consumer Complaint Narrative
                                       Selene Finance is not reporting my mortgage to the credit
                                       reporting companies.




6013189                                Date received: 9/24/2022        Consumer's state: GA

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Account information incorrect

                                       Consumer Complaint Narrative
                                       I have a XXXX balance based on the discharge, the Notice
                                       of Final Cure, and the Lien Release from Selene Finance. I
                                       already filed a complaint with the CFPB. The complaint #
                                       is XXXX. Selene acknowledged that I do not owe anything
                                       to them. They sent me a letter with the mort [...]




6006645                                Date received: 9/22/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: FHA mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Selene Finance ( the servicer ) claims they errored in the
                                       analysis and are now asking for {$2500.00} starting
                                       XX/XX/2022. The taxes and insurance have not increased.
                                       The variable is ( {$4700.00} yearly ). They have not been
                                       able to explain other than stating the PI of the loan was
                                       [...]




6005444                                Date received: 9/21/2022        Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Account information incorrect

                                       Consumer Complaint Narrative
                                       Because of the high balance being incorrectly reported to
                                       the credit bureaus as if I still had a Loan with Selene Finance
                                       LP my credit score went down by XXXX points. I am in the
                                       middle of purchasing a property and due to the huge
                                       mistake done by Selene Finance LP [...]




5996316                                Date received: 9/19/2022        Consumer's state: OR

Company name                           Product
Selene Holdings LLC
                                       Credit reporting, credit repair services, or
Company response to                    other personal consumer reports
consumer                               Sub-product: Credit reporting
Closed with explanation
                                       Issue
Timely response?                       Incorrect information on your report
Yes                                    Sub-issue: Account information incorrect

                                       Consumer Complaint Narrative
                                       This company SELENE FINANCE conspired with prev.
                                       servicer XXXX to remove and disappear my Escrow acct
                                       upon transfer, Selene Finance is a D+/F rated company and
                                       has predatory practices. They then increased my
                                       mortgage by 24.9 % while I reported I was adversely ex
                                       [...]




5985482                                Date received: 9/15/2022        Consumer's state: NJ

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Selene has not responded. This is an update for case XXXX
                                       which was closed on XXXX XXXX XXXX. Please see
                                       attached correspondence to Selene.




5977800                                Date received: 9/13/2022        Consumer's state: CT

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       On or about XX/XX/XXXX our loan was transferred to
                                       Selene Finance, LP. I had filed bankruptcy back in XXXX and
                                       didnt re-affirm the dept therefore I am still on the
                                       mortgage but not responsible on the Note. From XXXX
                                       XXXX my mortgage never showed up on my Credit
                                       Report as me being l [...]




5955706                                Date received: 9/6/2022      Consumer's state: OH

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
consumer
                                       Issue
Closed with explanation
                                       Trouble during payment process
Timely response?
Yes                                    Consumer Complaint Narrative
                                       Selene Finance LP of XXXX purchased the mortgage from
                                       XXXXXXXX XXXX years ago and has never been helpful
                                       or responsive. I have engaged a realtor and we know we
                                       may have to go with a short sell. Note that the house is
                                       beautiful and in a great neighborhood in an eastern
                                       suburb of XXX [...]




5955547                                Date received: 9/6/2022      Consumer's state: FL

Company name                           Product
Selene Holdings LLC
                                       Mortgage
                                       Sub-product: Conventional home mortgage
Company response to
                                   consumer
                                             Case 1:24-cv-01946-LDH-LKE   Issue
                                                                           Document 1-33   Filed 03/16/24   Page 5 of 5 PageID #:
                                   Closed with explanation                         342
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          Selene Finance failed to make my insuracne payment
                                                                          despite monies for insurance payments being made into
                                                                          escrow account. Upon renewal day for my insurace I
                                                                          recieved a call from insurance company that my policy
                                                                          was being canceled. I had to pay {$10000.00} on the spot
                                                                          to aviod cancel [...]




                                   5949617                                Date received: 9/5/2022           Consumer's state: CT

                                   Company name                           Product
                                   Selene Holdings LLC
                                                                          Mortgage
                                                                          Sub-product: Conventional home mortgage
                                   Company response to
                                   consumer
                                                                          Issue
                                   Closed with explanation
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          Selene Finance is claiming theyre owed a debt And theyre
                                                                          trying to collect without going through the proper
                                                                          administrative process to validate their claims. I sent them
                                                                          validation correspondence via certified mail number
                                                                          XXXX XXXX XXXX XXXX XXXX on XX/XX/XXXX and
                                                                          havent received an [...]




                                   5922498                                Date received: 8/27/2022           Consumer's state: NC

                                   Company name                           Product
                                   Selene Holdings LLC
                                                                          Mortgage
                                                                          Sub-product: Conventional home mortgage
                                   Company response to
                                   consumer
                                                                          Issue
                                   Closed with explanation
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          Selene Finance holds our mortgage and as a result the
                                                                          escrow account is totally non transparent and as a result
                                                                          duly on XX/XX/2022 I paid my insurance through XXXX
                                                                          the insurance company notified Selene that the insurance
                                                                          was paid in full I also contacted them on a number o [...]




                                   5908056                                Date received: 8/23/2022           Consumer's state: GA

                                   Company name                           Product
                                   Selene Holdings LLC
                                                                          Mortgage
                                                                          Sub-product: FHA mortgage
                                   Company response to
                                   consumer
                                                                          Issue
                                   Closed with explanation
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          My loan was sold to selene financial. I sold the house. I had
                                                                          to pay my property taxes again at closing even though I
                                                                          had already paid it in escrow. I called selene finance and
                                                                          changed my address with them so they could send the
                                                                          refund to the proper place. They would not d [...]




                                   5905159                                Date received: 8/22/2022           Consumer's state: AL

                                   Company name                           Product
                                   Selene Holdings LLC
                                                                          Mortgage
                                                                          Sub-product: Conventional home mortgage
                                   Company response to
                                   consumer
                                                                          Issue
                                   Closed with explanation
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          My mortgage was sold to XXXX Mortgage and now to
                                                                          Selene Finance. I received a letter from XXXX in XXXX of
                                                                          XXXX that I owed mortgage payments from XXXX. I sent
                                                                          in proof from my bank that all mortgage payments from
                                                                          that period were paid. XXXX XXXX XXXX sold my
                                                                          mortgage to Selene [...]




                                   5904198                                Date received: 8/22/2022           Consumer's state: FL

                                   Company name                           Product
                                   Selene Holdings LLC
                                                                          Mortgage
                                                                          Sub-product: Conventional home mortgage
                                   Company response to
                                   consumer
                                                                          Issue
                                   Closed with explanation
                                                                          Trouble during payment process
                                   Timely response?
                                   Yes                                    Consumer Complaint Narrative
                                                                          Re : Selene Finance Mortgage loan # XXXX I was the
                                                                          primary borrower on a mortgage loan with Selene Finance.
                                                                          The co-borrower on the loan, my mother, passed away
                                                                          before the loan was paid off, she was also a widow. I paid
                                                                          the home off XX/XX/2022. The escrow reimburse [...]


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